     Case 2:21-cv-01823-RFB-BNW Document 18 Filed 11/05/21 Page 1 of 2




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6    Attorneys for Plaintiff Bobette Cousineau

7                                UNITED STATES DISTRICT COURT

8                                  FOR THE DISTRICT OF NEVADA

9      BOBETTE COUSINEAU, an individual;                  Case No.: 2:21-CV-01823-RFB-BNW

10                        Plaintiff,
       vs.                                                STIPULATION AND ORDER TO
11                                                        EXTEND TIME TO RESPOND
       OLD DOMINION FREIGHT LINE, INC.;                   TO MOTION TO DISMISS
12     DOES I through X; and ROE Corporations
       XI through XX, inclusive,                          (First Request)
13
                          Defendants.
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             Pursuant to LR IA 6-1, LR IA 6-2, and LR 7-1, Plaintiff Bobette Cousineau
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     ("Plaintiff") and Defendant Old Dominion Freight Line, Inc. ("Defendant"), by and through
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     undersigned counsel, hereby request and stipulate to extend the time for Plaintiff to
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     respond to Defendant's Motion to Dismiss. (EFC No. 15). Plaintiff's response to the Motion
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     to Dismiss is currently due November 5, 2021. The parties jointly request an extension of
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     time up to and including November 12, 2021 for Plaintiff to respond and an extension of
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     time up to and including November 22, 2021 for Defendant to file a Reply. Plaintiff's
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     counsel has a large trial on November 4 and 5, 2021 that has been two years in the
23
     making. As such, Plaintiff requires additional time to prepare a proper response. Further,
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     Defendant requires a few extra days to prepare a Reply due to attorney
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     upcoming departure from the firm. This is the parties' first request for an extension of time.
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                                              Page 1 of 2
     Case 2:21-cv-01823-RFB-BNW Document 18 Filed 11/05/21 Page 2 of 2




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3    This stipulation is made in good faith and is not intended for purposes of delay.

4    DATED this 5 day of November, 2021              DATED this 5 day of November, 2021

5    GABROY LAW OFFICES                              OGLETREE, DEAKINS, NASH, SMOAK &
                                                     STEWART, P.C.
6
     _/s/ Christian Gabroy _______                   /s/ Amy L. Howard_________________
7    Christian Gabroy, Esq.                          Anthony L. Martin
     Kaine Messer, Esq.                              Nevada Bar No. 8177
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12   Attorneys for Plaintiff
13
                                              ORDER
14         IT IS SO ORDERED.
15                                            ________________________________________
                                              UNITED STATES MAGISTRATE JUDGE
16

17                                            ________________________________________
                                              DATED
18                                             DATED this 5th day of November, 2021.
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